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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       PIKEVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )
                                                  )           No. 7:22-CR-2-REW-EBA
 v.                                               )
                                                  )                     ORDER
 MEGAN S. STACY,                                  )
                                                  )
       Defendant.                                 )

                                        *** *** *** ***

       After conducting Rule 11 proceedings, see DE 48 (Rearraignment Minute Entry),

Magistrate Judge Atkins recommended that the undersigned accept Defendant Megan S. Stacy’s

guilty plea and adjudge Stacy guilty of Count 1 of the Indictment. See DE 51 (Recommended

Disposition); see also DE 50 (Plea Agreement). Judge Atkins expressly informed Defendant of

her right to object to the Recommended Disposition to secure de novo review. See DE 51 at 2–3.

The established, three-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(noting that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in

his objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right

to raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”




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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 51, ACCEPTS Defendant’s guilty plea, and ADJUDGES

           Defendant guilty of Count 1 of the Indictment (DE 1);

        2. The Court CANCELS the jury trial in this matter, as to all Defendants; and

        3. The Court will issue a separate sentencing order.1

        This the 17th day of June, 2022.




1
  Upon concluding the hearing, Judge Atkins remanded Defendant to the United States Marshal.
See DE 48. This was Defendant’s status pre-plea. See DE 21. The Court, thus, sees no need to
further address detention at this time; Defendant will remain detained pending sentencing.
                                                 2
